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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRCICT OF GEORGIA
                               SAVANNAH DIVISION

UNITED STATES OF AMERICA                    )
                                            )
V.                                          )       CASE NO. 4:21-CR-0111-RSB-CRR
                                            )
RAPHAEL SAMUEL SMITH,                       )
                                            )
       Defendant.                           )

        DEFENDANT’S CONSENT TO CONTINUE EVIDENTIARY HEARING

       COMES NOW the Defendant above-named, by and through undersigned counsel, and files

his consent to the Government’s Motion To Continue Evidentiary Hearing [Doc. 729]. In support

thereof, the Defendant shows as follows:

       1. An evidentiary hearing on the Defendant’s Motions; First Motion to Suppress Search

          Warrant and Other Evidence [Doc. 341], Amended on February 28, 2023 [Doc. 728],

          First Motion to Exclude from Wiretap [Doc. 371], and First Motion to Exclude Evidence

          Seized from Search of Cell Phones [Doc. 372] are currently scheduled for Friday, March

          3, 2023 at 9:00 AM.

       2. On March 1, 2023, the Government filed a Motion To Continue Evidentiary Hearing

          [Doc. 729]. Defendant has no opposition to this motion and will join the Government to

          request the same.




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            WHEREFORE, based upon the within and foregoing, the Defendant requests that the

Court enter an order granting a continuance of this evidentiary hearing.

       This 2 day of March, 2023.

                                             Respectfully submitted,


                                             /s/ Bruce S. Harvey
                                             LAW OFFICE OF BRUCE S. HARVEY
                                             ATTORNEY FOR DEFENDANT
                                             Bruce S. Harvey, #335175
                                             bruce@bharveylawfirm.com
                                             146 Nassau Street, NW
                                             Atlanta, Georgia 30303
                                             (404) 659-4628




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                                CERTIFICATE OF SERVICE

       This is to certify that I have this day served a copy of the within and foregoing Defendant’s

Consent To Continue Evidentiary Motion upon opposing counsel by using the Court’s eFile Pacer

system which will deliver a copy to all registered to receive service via eFileGA, addressed as

follows:

                                      Frank Pennington, AUSA
                                      22 Barnard Street, Ste 300
                                      Savannah, Georgia 31401

       This 2 day of March, 2023.




                                             /s/ Bruce S. Harvey
                                             LAW OFFICE OF BRUCE S. HARVEY
                                             ATTORNEY FOR DEFENDANT
                                             Bruce S. Harvey, #335175
                                             bruce@bharveylawfirm.com
                                             146 Nassau Street, NW
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